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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



 Sven Sundgaard,                                         Civ. No. 21-999 (JRT/JFD)

                      Plaintiff,

 v.

 Multimedia Holdings Corporation, d/b/a        STIPULATION AND JOINT MOTION
 KARE-TV, and d/b/a KARE-11; and Tegna,          TO EXTEND FACT DISCOVERY
 Inc.,
                     Defendants.                AND NON-DISPOSITIVE MOTIONS
                                                   DEADLINE IN PRETRIAL
                                                     SCHEDULING ORDER



       Pursuant to this Court’s Pretrial Scheduling Order (Docket No. 17), Local Rule

16.3 and for good cause shown, Plaintiff Sven Sundgaard (“Plaintiff”) and Defendants

Multimedia Holdings Corporation, d/b/a KARE-TV and d/b/a KARE-11; TEGNA, Inc.,

(“Defendants”) (collectively, “the Parties”), through their undersigned counsel, stipulate

and jointly move for an Order extending the fact-discovery deadline contained in the

Pretrial Scheduling Order from March 1, 2022 to May 27, 2022 and the non-dispositive

motions relating to fact discovery from April 20, 2022 to June 24, 2022.

       The Parties respectfully submit that good cause exists for the extension sought as

the parties have and continue to make diligent efforts to meet the order’s deadlines.

Pursuant to Local Rule 16.3(b) and 16.3(c), the Parties provide the following information

in support of this Joint Motion:
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1.     What Discovery Remains to Be Completed:

       At this time, the Parties expect the following fact discovery to be completed:

(a) further document production, including ESI, (b) depositions and (c) resolving issues

related to responses to written discovery requests.

2.     What Discovery Has Been Completed.

       To date, the Parties have exchanged Initial Disclosures and responses to written

discovery requests, including responses to Interrogatories and Requests for Production of

Documents. Two sets of discovery have been served by Plaintiff and answered. Plaintiff

has produced more than 500 pages of documents, and Defendants have produced nearly

2,000 pages of documents.

3.     Why All Discovery Has Not Been Completed.

       At the outset of this case, the Parties discussed that engaging in mediation after

conducting initial discovery could be productive. The Parties exchanged their first sets of

written discovery during July 2021 and each responded in whole or in part by mid-

August and September 2021. The parties met and discussed ESI protocols and then

anticipated a rolling production from Defendant to Plaintiff. A settlement conference

with the court on November 2, 2021 did not end with resolution. When the parties were

not able to resolve the matter at the settlement conference, the parties engaged in further

written discovery and document production. Although conducting and producing

discovery has taken longer than initially anticipated the Parties are continuing to discuss

and resolve disputes as they arise. Defendants have collected nearly 1 million electronic

records and have made productions from that collection. Review continues and additional
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information may also be produced. On February 4, 2022, the parties held a telephonic

meet and confer discussion to further understand and address any open issues that remain.

4.     How Long It Will Take To Complete Discovery.

       The Parties expect with the remaining discovery to be produced and the

scheduling of depositions which may involve travel, they will be able to complete fact

discovery by May 27, 2022 and non-dispositive motions by June 24, 2022.

       Therefore, for good cause shown, the Parties respectfully request that the Court

enter an order to amend the discovery deadline from March 1, 2022 to May 27, 2022

and non-dispositive motions relating to fact discovery from April 20, 2022 to June

24, 2022, and amend the current Pretrial Scheduling Order to reflect this proposed new

deadline and that it do so without holding a hearing. The Parties do not propose

modifying any other deadlines contained in the Pretrial Scheduling Order, including but

not limited to the deadline for dispositive motions or trial.

       To the extent the Court would like to hold a hearing or telephone conference on

this request, the Parties will be available upon the Court’s request.
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Dated this 4th day of February, 2022

                                       Stipulated to and respectfully submitted:


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